                                                                  APPEAL,ATTYOPEN,CLOSED,RF
                           United States District Court
                    Eastern District of Wisconsin (Milwaukee)
                 CIVIL DOCKET FOR CASE #: 2:20−cv−01771−PP

Feehan et al v. Wisconsin Elections Commission et al        Date Filed: 12/01/2020
Assigned to: Chief Judge Pamela Pepper                      Date Terminated: 12/10/2020
Case in other court: 20−03396                               Jury Demand: None
                     USCA: Feehan: 12−00010−2020,           Nature of Suit: 441 Civil Rights: Voting
                     20−03396                               Jurisdiction: Federal Question
                     20−03448
                     USCA; Feehan; 12−00015−2020,
                     20−03448
Cause: 42:1983 Civil Rights Act

Plaintiff
William Feehan                                 represented by Daniel J Eastman
                                                              Eastman Law
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                                                              Mequon, WI 53092
                                                              414−881−9383
                                                              Email: daneastman@me.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

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                                                            Brookfield, WI 53008
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                                                            Brandon Johnson
                                                            Sidney Powell PC
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                                                            Dallas, TX 75219
                                                            ATTORNEY TO BE NOTICED

                                                            Emily P Newman
                                                            Sidney Powell PC
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                                                            ATTORNEY TO BE NOTICED


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                                                 Howard Kleinhendler
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                                                 Sidney Powell PC
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Plaintiff
Derrick Van Orden                    represented by Michael D Dean
TERMINATED: 12/03/2020                              (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Brandon Johnson
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Daniel J Eastman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Emily P Newman
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
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                                                 ATTORNEY TO BE NOTICED

       Case 2:20-cv-01771-PP Filed 09/23/22 Page 2 of 53 Document 115
                                                   Julia Z Haller
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                                                   L Lin Wood
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED

                                                   Sidney Powell
                                                   (See above for address)
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Wisconsin Elections Commission      represented by Colin T Roth
                                                   Wisconsin Department of Justice
                                                   Office of the Attorney General
                                                   17 W Main St
                                                   PO Box 7857
                                                   Madison, WI 53707−7857
                                                   608−266−0020
                                                   Fax: 608−267−2223
                                                   Email: croth@staffordlaw.com
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                                                   Wisconsin Department of Justice
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                                                   Madison, WI 53707−7857
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Defendant
Ann S Jacobs                        represented by Colin T Roth
                                                   (See above for address)
      Case 2:20-cv-01771-PP Filed 09/23/22 Page 3 of 53 Document 115
                                                ATTORNEY TO BE NOTICED

                                                Jody J Schmelzer
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Sean Michael Murphy
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Mark L Thomsen                      represented by Colin T Roth
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                                                Jody J Schmelzer
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Sean Michael Murphy
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Defendant
Commissioner Marge Bostelmann       represented by Colin T Roth
                                                   (See above for address)
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                                                Jody J Schmelzer
                                                (See above for address)
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                                                Sean Michael Murphy
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Defendant
Julie M Glancey                     represented by Colin T Roth
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                                                Jody J Schmelzer
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                                                Sean Michael Murphy
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Defendant

      Case 2:20-cv-01771-PP Filed 09/23/22 Page 4 of 53 Document 115
Commissioner Dean Knudson            represented by Colin T Roth
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                                                  Jody J Schmelzer
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Defendant
Robert F Spindell, Jr                represented by Colin T Roth
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                                                  Jody J Schmelzer
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                                                  Sean Michael Murphy
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Defendant
Tony Evers                           represented by Davida Brook
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Amicus
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      Case 2:20-cv-01771-PP Filed 09/23/22 Page 6 of 53 Document 115
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Case 2:20-cv-01771-PP Filed 09/23/22 Page 7 of 53 Document 115
                                                 Mark M Leitner
                                                 Laffey Leitner & Goode LLC
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Amicus
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                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 John W Halpin
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

                                                 Jon Greenbaum
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                                                 ATTORNEY TO BE NOTICED

                                                 Joseph S Goode
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                                                 ATTORNEY TO BE NOTICED

                                                 Mark M Leitner
                                                 (See above for address)
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Amicus
Wendell J. Harris, Sr.               represented by Allison E Laffey
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                                                    ATTORNEY TO BE NOTICED

                                                 Ezra D Rosenberg
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                                                 ATTORNEY TO BE NOTICED

                                                 John W Halpin
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                                                 Jon Greenbaum
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                                                 ATTORNEY TO BE NOTICED
       Case 2:20-cv-01771-PP Filed 09/23/22 Page 8 of 53 Document 115
                                                  Joseph S Goode
                                                  (See above for address)
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                                                  Mark M Leitner
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Earnestine Moss                     represented by Allison E Laffey
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                                                  Mark M Leitner
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V.
Intervenor
Democratic National Committee       represented by Sopen B Shah
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Case 2:20-cv-01771-PP Filed 09/23/22 Page 10 of 53 Document 115
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                                                               ATTORNEY TO BE NOTICED


V.
Movant
James Gesbeck                                 represented by James Gesbeck
                                                             9302 Harvest Moon Lane
                                                             Verona, WI 53593
                                                             PRO SE


Date Filed      #   Page Docket Text
12/01/2020      1        COMPLAINT against All Plaintiffs by William Feehan. ( Filing Fee PAID
                         $400 receipt number AWIEDC−3652059) (Attachments: # 1 Exhibit, # 2
                         Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                         Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, #
                         14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit,
                         # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25
                         Exhibit, # 26 Exhibit, # 27 Exhibit)(Dean, Michael) (Additional attachment(s)
                         added on 12/1/2020: # 28 Civil Cover Sheet) (jcl).
12/01/2020      2        MOTION for Temporary Restraining Order by All Plaintiffs. (Dean, Michael)
12/01/2020      3        BRIEF in Support filed by All Plaintiffs re 2 MOTION for Temporary
                         Restraining Order . (Dean, Michael)
12/01/2020               NOTICE Regarding assignment of this matter to Chief Judge Pamela Pepper;
                         Consent/refusal forms for Magistrate Judge Joseph to be filed within 21 days;
                         the consent/refusal form is available here. Pursuant to Civil Local Rule 7.1 a
                         disclosure statement is to be filed upon the first filing of any paper and should
                         be filed now if not already filed. (jcl)
12/01/2020      4        Magistrate Judge Jurisdiction Form filed by All Plaintiffs. (NOTICE: Pursuant
                         to Fed.R.Civ.P. 73 this document is not viewable by the judge.) (Dean,
                         Michael)
12/01/2020      5        DISCLOSURE Statement by All Plaintiffs. (Dean, Michael)

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12/01/2020    6     MOTION to Amend/Correct Docket # 2: PLAINTIFFS MOTION FOR
                    DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                    RELIEF by All Plaintiffs. (Attachments: # 1 Text of Proposed Order)(Dean,
                    Michael)
12/02/2020    7     ORDER signed by Chief Judge Pamela Pepper on 12/2/2020 re 6 Amended
                    Motion for Injunctive Relief. (cc: all counsel)(cb)
12/02/2020    8     NOTICE of Appearance by Sidney Powell on behalf of All Plaintiffs.
                    Attorney(s) appearing: Sidney Powell (Powell, Sidney)
12/03/2020    9     AMENDED COMPLAINT removing Derrick Van Orden as Plaintiff against
                    All Defendants filed by William Feehan. (Attachments: # 1 Exhibit, # 2
                    Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8
                    Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, #
                    14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19
                    Exhibit)(Dean, Michael)
12/03/2020   10     Emergency MOTION to Amend/Correct Docket # 6: PLAINTIFFS
                    CORRECTED MOTION FOR DECLARATORY, EMERGENCY, AND
                    PERMANENT INJUNCTIVE RELIEF by William Feehan. (Attachments: # 1
                    Information Sheet Proposed Briefing Schedule)(Dean, Michael)
12/03/2020   11     NOTICE of Appearance by Jeffrey A Mandell on behalf of Tony Evers.
                    Attorney(s) appearing: Jeffrey A. Mandell (Mandell, Jeffrey)
12/03/2020   12     NOTICE of Appearance by Rachel E Snyder on behalf of Tony Evers.
                    Attorney(s) appearing: Rachel E. Snyder (Snyder, Rachel)
12/03/2020   13     NOTICE of Appearance by Howard Kleinhendler on behalf of William
                    Feehan. Attorney(s) appearing: Howard Kleinhendler (Kleinhendler, Howard)
12/03/2020   14     MOTION to Intervene by James Gesbeck. (Attachments: # 1 Proposed
                    Answer, # 2 Certificate of Service)(asc)
12/03/2020   15     BRIEF in Support filed by James Gesbeck re 14 MOTION to Intervene. (asc)
12/03/2020   16     MOTION Reassign Case Pursuant to Civil L.R. 3(b) by Tony Evers.
                    (Attachments: # 1 Exhibit 1 − Notice from Case 20−CV−1785)(Mandell,
                    Jeffrey)
12/03/2020   17     NOTICE of Appearance by Sean Michael Murphy on behalf of Marge
                    Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                    Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission. Attorney(s)
                    appearing: Sean Michael Murphy, Jody J. Schmelzer, Colin T. Roth (Murphy,
                    Sean)
12/03/2020   18     RESPONSE to Motion filed by William Feehan re 16 MOTION Reassign Case
                    Pursuant to Civil L.R. 3(b) . (Dean, Michael)
12/03/2020   19     ORDER signed by Chief Judge Pamela Pepper on 12/3/2020 DENYING 16
                    defendant Tony Evers's motion to reassign case pursuant to Civil L.R. 3(b).
                    (cc: all counsel)(cb)
12/03/2020   20     NOTICE of Appearance by Charles G Curtis, Jr on behalf of Democratic
                    National Committee. Attorney(s) appearing: Charles G. Curtis (Curtis, Charles)

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12/03/2020   21     NOTICE of Appearance by Michelle M Umberger on behalf of Democratic
                    National Committee. Attorney(s) appearing: Michelle M. Umberger
                    (Umberger, Michelle)
12/03/2020          Party Derrick Van Orden terminated. (amb) (Entered: 12/04/2020)
12/04/2020   22     MOTION to Intervene by Democratic National Committee. (Attachments: # 1
                    Exhibit 1−Proposed Answer, # 2 Text of Proposed Order)(Umberger,
                    Michelle)
12/04/2020   23     BRIEF in Support filed by Democratic National Committee re 22 MOTION to
                    Intervene . (Umberger, Michelle)
12/04/2020   24     DISCLOSURE Statement by Democratic National Committee. (Umberger,
                    Michelle)
12/04/2020   25     REPLY filed by Tony Evers to Plaintiff's Proposed Briefing Schedule.
                    (Mandell, Jeffrey)
12/04/2020   26     REPLY filed by Marge Bostelmann, Julie M Glancey, Ann S Jacobs, Dean
                    Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                    Commission to Plaintiff's Proposed Briefing Schedule. (Murphy, Sean)
12/04/2020   27     NOTICE of Appearance by Justin A Nelson on behalf of Tony Evers.
                    Attorney(s) appearing: Justin A. Nelson (Nelson, Justin)
12/04/2020   28     NOTICE of Appearance by Davida Brook on behalf of Tony Evers.
                    Attorney(s) appearing: Davida Brook (Brook, Davida)
12/04/2020   29     ORDER signed by Chief Judge Pamela Pepper on 12/4/2020. 10 Plaintiff's
                    amended motion GRANTED IN PART to extent that it is Civil L.R. 7(h)
                    expedited non−dispositive motion for expedited briefing schedule; defendant's
                    opposition to plaintiff's amended motion due by 5:00 PM on 12/7/2020,
                    plaintiff's reply due by 5:00 PM on 12/8/2020. The court DEFERS RULING
                    on plaintiff's amended motion to extent that it asks the court to issue TRO or
                    preliminary injunction. (cc: all counsel)(cb)
12/04/2020   30     NOTICE of Appearance by Stephen Shackelford, Jr on behalf of Tony Evers.
                    Attorney(s) appearing: Stephen L. Shackelford, Jr. (Shackelford, Stephen)
12/04/2020   31     NOTICE of Appearance by Richard Manthe on behalf of Tony Evers.
                    Attorney(s) appearing: Richard A. Manthe (Manthe, Richard)
12/04/2020   32     NOTICE of Appearance by Paul M Smith on behalf of Tony Evers.
                    Attorney(s) appearing: Paul M. Smith (Smith, Paul)
12/04/2020   33     7(h) Expedited NON−DISPOSITIVE MOTION to Intervene by James
                    Gesbeck. (Attachments: # 1 Certificate of Service)(lz)
12/04/2020   34     MOTION for Leave to File Excess Pages by Tony Evers. (Mandell, Jeffrey)
12/04/2020   35     NOTICE of Appearance by Sidney Powell on behalf of All Plaintiffs.
                    Attorney(s) appearing: Sidney Powell (Powell, Sidney)
12/04/2020   36     TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/4/2020 re
                    34 MOTION for Leave to File Excess Pages filed by Tony Evers: The
                    defendant seeks leave to file a brief in excess of the thirty pages allowed by

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                    Civil L.R. 7(f) because he proposes to both oppose the plaintiff's amended
                    motion for injunctive relief and support his own, not yet filed motion to dismiss
                    in the same pleading. The court appreciates any party's effort to streamline
                    litigation, but would prefer that the defendant file separate briefs opposing the
                    plaintiff's amended motion and supporting his own. This will avoid confusion
                    when the plaintiff responds. The court DENIES the defendant's motion for
                    leave to file excess pages. NOTE: There is no document associated with this
                    text−only order. (cc: all counsel)(Pepper, Pamela)
12/04/2020   37     ORDER signed by Chief Judge Pamela Pepper on 12/4/2020 allowing James
                    Gesbeck to file amicus curiae brief by 5:00 PM on 12/7/2020. (cc: all counsel,
                    via mail to James Gesbeck)(cb)
12/05/2020   38     TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/5/2020 re
                    22 MOTION to Intervene filed by Democratic National Committee signed by
                    Chief Judge Pamela Pepper on 12/5/2020: Under Civil L.R. 7(b), the plaintiff's
                    response is due by December 25, 2020; because December 25 is a federal
                    holiday, the court ORDERS that the plaintiff's response is due by December
                    28, 2020. NOTE: There is no document associated with this text−only
                    order. (cc: all counsel)(Pepper, Pamela)
12/05/2020   39     TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/05/2020 re
                    33 MOTION to Intervene filed by James Gesbeck: Under Civil L.R. 7(h), the
                    plaintiff's response is due by Friday, December 11, 2020. NOTE: There is no
                    document associated with this text−only order. (cc: all counsel)(Pepper,
                    Pamela)
12/05/2020   40     Expedited MOTION to Intervene by Democratic National Committee.
                    (Umberger, Michelle)
12/06/2020   41     ORDER signed by Chief Judge Pamela Pepper on 12/6/2020. 40 Movant
                    DNC's expedited motion to intervene GRANTED to extent that court has
                    expedited its ruling on original motion to intervene. 22 Movant DNC's original
                    motion to intervene DENIED. Movant DNC may file amicus curiae brief by
                    5:00 PM on 12/7/2020. (cc: all counsel)(cb)
12/06/2020   42     BRIEF in Support filed by William Feehan re 10 Emergency MOTION to
                    Amend/Correct Docket # 6: PLAINTIFFS CORRECTED MOTION FOR
                    DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                    RELIEF Amended Brief. (Dean, Michael)
12/06/2020   43     MOTION To File Separate Reply Briefs by William Feehan. (Dean, Michael)
12/06/2020   44     MOTION To Hold Consolidated Evidentiary Hearing/Trial by William
                    Feehan. (Dean, Michael)
12/07/2020   45     TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 12/7/2020 re
                    43 MOTION To File Separate Reply Briefs filed by William Feehan: The court
                    GRANTS the plaintiff's motion for leave to file separate reply briefs. If the
                    defendants file a single opposition brief, the plaintiff must file one reply to that
                    brief. If the defendants file separate opposition briefs, the plaintiff may file a
                    reply for each opposition brief. The plaintiff also may file a separate reply for
                    each brief filed by an amicus. (In other words, the plaintiff could file up to four
                    reply briefs if the defendants file separate briefs and each amicus files a brief.)
                    If the defendants file a separate motion to dismiss, the plaintiff may file an
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                    opposition brief of up to thirty pages under Civil L.R. 7(b). NOTE: There is
                    no document associated with this text−only order. (cc: all counsel)(Pepper,
                    Pamela)
12/07/2020          NOTICE of Hearing: Status Conference set for 12/8/2020 at 11:00 AM by
                    telephone before Chief Judge Pamela Pepper. The parties are to appear by
                    calling the court's conference line at 888−557−8511 and entering access code
                    4893665#. (cc: all counsel)(cb)
12/07/2020   46     RESPONSE to Motion filed by Marge Bostelmann, Julie M Glancey, Ann S
                    Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                    Elections Commission re 44 MOTION To Hold Consolidated Evidentiary
                    Hearing/Trial . (Murphy, Sean)
12/07/2020   47     AMICUS BRIEF in Opposition to 6 MOTION for Injunctive Relief filed by
                    James Gesbeck. (asc)
12/07/2020   48     NOTICE of Appearance by David S Lesser on behalf of Democratic National
                    Committee. Attorney(s) appearing: David S. Lesser (Lesser, David)
12/07/2020   49     NOTICE of Appearance by Jamie Dycus on behalf of Democratic National
                    Committee. Attorney(s) appearing: Jamie S. Dycus (Dycus, Jamie)
12/07/2020   50     NOTICE of Appearance by Stephen Morrissey on behalf of Tony Evers.
                    Attorney(s) appearing: Stephen E. Morrissey (Morrissey, Stephen)
12/07/2020   51     MOTION to Dismiss Plaintiff's Amended Complaint by Tony Evers. (Mandell,
                    Jeffrey)
12/07/2020   52     RESPONSE to Motion filed by Marge Bostelmann, Julie M Glancey, Ann S
                    Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                    Elections Commission re 2 MOTION for Temporary Restraining Order .
                    (Murphy, Sean)
12/07/2020   53     MOTION to Dismiss by Marge Bostelmann, Julie M Glancey, Ann S Jacobs,
                    Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                    Commission. (Murphy, Sean)
12/07/2020   54     BRIEF in Support filed by Marge Bostelmann, Julie M Glancey, Ann S Jacobs,
                    Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin Elections
                    Commission re 53 MOTION to Dismiss . (Murphy, Sean)
12/07/2020   55     BRIEF in Opposition filed by Tony Evers re 10 Emergency MOTION to
                    Amend/Correct Docket # 6: PLAINTIFFS CORRECTED MOTION FOR
                    DECLARATORY, EMERGENCY, AND PERMANENT INJUNCTIVE
                    RELIEF . (Attachments: # 1 Exhibit 1 WVA v. WEC, # 2 Exhibit 2 Trump v.
                    Boockvar, # 3 Exhibit 3 Wood v. Raffensperger, # 4 Exhibit 4 Wood v.
                    Raffensperger (11th Cir.), # 5 Exhibit 5 King v. Whitmer TRO Decision, # 6
                    Exhibit 6 Zilisch v. R.J. Reynolds, # 7 Exhibit 7 Consolidate Water v..40
                    Acres, # 8 Exhibit 8 Jefferson v. Dane County, # 9 Exhibit 9 Bognet v.
                    Secretary of Commonwealth, # 10 Exhibit 10 O'Bright v. Lynch Order, # 11
                    Exhibit 11 Trump v. Evers Order)(Mandell, Jeffrey)
12/07/2020   56     MOTION for Leave to File Amicus Curiae Brief by Wisconsin State
                    Conference NAACP, Dorothy Harrell, Wendell J. Harris, Sr., Earnestine Moss.
                    (Goode, Joseph)
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12/07/2020   57     BRIEF in Opposition filed by Democratic National Committee re 10
                    Emergency MOTION to Amend/Correct Docket # 6: PLAINTIFFS
                    CORRECTED MOTION FOR DECLARATORY, EMERGENCY, AND
                    PERMANENT INJUNCTIVE RELIEF . (Attachments: # 1 Exhibit 1 −
                    Washington Voters Alliance Case, # 2 Exhibit 2 − Trump v. Evers Case, # 3
                    Exhibit 3 − Mueller v. Jacobs Case, # 4 Exhibit 4 − King v. Benson Case, # 5
                    Exhibit 5 − March 29, 2020 Guidance, # 6 Exhibit 6 − Jefferson v. Dane Case,
                    # 7 Exhibit 7 − October 18, 2016 Guidance, # 8 Exhibit 8 − Election Manual, #
                    9 Exhibit 9 − November 10, 2020 Guidance)(Umberger, Michelle)
12/07/2020   58     UNPUBLISHED Decision Pursuant to Civil L.R. 7(J) filed by Marge
                    Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                    Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission
                    (Attachments: # 1 Exhibit 1− Martel v. Condos, # 2 Exhibit 2− Moore v.
                    Circosta, # 3 Exhibit 3− Donald J. Trump for President v. Cegavske, # 4
                    Exhibit 4− Bognet v. Secretary of the Commonwealth of Pennsylvania, # 5
                    Exhibit 5− Donald J. Trump for President v. Boockvar, # 6 Exhibit 6− Donald
                    J. Trump for President v. Pennsylvania, # 7 Exhibit 7− Wood v. Raffensperger,
                    # 8 Exhibit 8− King v. Whitmer)(Murphy, Sean)
12/07/2020   59     BRIEF in Support filed by Tony Evers re 51 MOTION to Dismiss Plaintiff's
                    Amended Complaint . (Attachments: # 1 Exhibit 1 Whitake v. Kenosha, # 2
                    Exhibit 2 Bognet v. Secretary of Commenwealth, # 3 Exhibit 3 Hotze v.
                    Hollins, # 4 Exhibit 4 Wood v. Raffensperger, # 5 Exhibit 5 Wood v.
                    Raffensperger (11th Cir.), # 6 Envelope 6 Moore v. Circosta, # 7 Exhibit 7
                    Trump v. Evers, # 8 Exhibit 8 WVA v. WEC, # 9 Exhibit 9 Trump Notice of
                    Appeal, # 10 Exhibit 10Trump v. Biden Consolidation Order, # 11 Exhibit 11
                    Andino v. Middleton, # 12 Exhibit 12 Massey v. Coon, # 13 Exhibit 13 Balsam
                    v. New Jersey, # 14 Exhibit 14 Thompson v. Alabama, # 15 Exhibit 15
                    Braynard Expert Report)(Mandell, Jeffrey)
12/07/2020   60     BRIEF in Opposition filed by Tony Evers re 44 MOTION To Hold
                    Consolidated Evidentiary Hearing/Trial . (Mandell, Jeffrey)
12/08/2020   61     NOTICE of Appearance by Jon Greenbaum on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Jon Greenbaum (Greenbaum, Jon)
12/08/2020   62     NOTICE of Appearance by Allison E Laffey on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Allison E. Laffey (Laffey, Allison)
12/08/2020   63     NOTICE of Appearance by John W Halpin on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: John W. Halpin (Halpin, John)
12/08/2020   64     NOTICE of Appearance by Mark M Leitner on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Mark M. Leitner (Leitner, Mark)
12/08/2020   65     NOTICE of Appearance by Joseph S Goode on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Joseph S. Goode (Goode, Joseph)
12/08/2020   66
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                    NOTICE of Appearance by Ezra D Rosenberg on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Ezra D. Rosenberg (Rosenberg, Ezra)
12/08/2020   67     NOTICE of Appearance by Jacob Conarck on behalf of Wisconsin State
                    Conference NAACP. Attorney(s) appearing: Jacob P. Conarck (Conarck,
                    Jacob)
12/08/2020   68     NOTICE of Appearance by Seth P Waxman on behalf of Democratic National
                    Committee. Attorney(s) appearing: Seth P. Waxman (Waxman, Seth)
12/08/2020   69     ORDER signed by Chief Judge Pamela Pepper on 12/8/2020 GRANTING 56
                    Motion for Leave to File Amicus Curiae Brief filed by Earnestine Moss,
                    Dorothy Harrell, Wisconsin State Conference NAACP, Wendell J. Harris, Sr.
                    (cc: all counsel)(cb)
12/08/2020   70      Audio of statue conference held on 12/8/2020 at 11:08 a.m.; File Size (51.1
                    MB) (kgw)
12/08/2020   71     Court Minutes and Order from the Status Conference held before Chief Judge
                    Pamela Pepper on 12/8/2020. The court DENIES the 44 Motion for
                    Consolidated Evidentiary Hearing and Trial on the Merits. The court
                    ORDERS the plaintiff to file his responses to the motions to dismiss (Dkt.
                    Nos. 51 and 53) and reply brief in support of his motion for injunctive relief
                    (Dkt. No. 10) by December 8, 2020 at 5 p.m. CST. The court ORDERS that if
                    the defendants and amici wish to file reply briefs in support of the motions to
                    dismiss, they must do so by December 9, 2020 at 3 p.m. CST. (Court Reporter
                    Thomas Malkiewicz.) (kgw)
12/08/2020   72     BRIEF in Opposition filed by William Feehan re 51 MOTION to Dismiss
                    Plaintiff's Amended Complaint, 10 Emergency MOTION to Amend/Correct
                    Docket # 6: PLAINTIFFS CORRECTED MOTION FOR DECLARATORY,
                    EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF , 53 MOTION
                    to Dismiss and Consolidated in Reply/Response to Response Briefs of
                    Defendants and Opposition Briefs of Amici. (Attachments: # 1 Exhibit, # 2
                    Exhibit)(Dean, Michael)
12/09/2020   73     REPLY BRIEF in Support filed by Tony Evers re 51 MOTION to Dismiss
                    Plaintiff's Amended Complaint . (Attachments: # 1 Exhibit 1 American
                    Commercial Barge Lines v. Reserve FTL, # 2 Exhibit 2 Trump v. Secretary of
                    Pennsylvania)(Mandell, Jeffrey)
12/09/2020   74     ORDER signed by Chief Judge Pamela Pepper on 12/9/2020. 14 James
                    Gesbeck's motion to intervene DENIED. 33 James Gesbeck's Civil LR 7(h)
                    motion to intervene GRANTED to extent it asks the court to expedite ruling on
                    motion to intervene and DENIED to extent it asks the court to grant motion to
                    intervene. (cc: all counsel)(cb)
12/09/2020   75     MOTION to Seal Document Public Motion Prior to Filing Sealed/Restricted
                    Exhibits by William Feehan. (Attachments: # 1 Exhibit, # 2 Exhibit)(Dean,
                    Michael)
12/09/2020   76     BRIEF in Support filed by William Feehan re 75 MOTION to Seal Document
                    Public Motion Prior to Filing Sealed/Restricted Exhibits . (Dean, Michael)
12/09/2020   77
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                    REPLY BRIEF in Support filed by Marge Bostelmann, Julie M Glancey, Ann
                    S Jacobs, Dean Knudson, Robert F Spindell, Jr, Mark L Thomsen, Wisconsin
                    Elections Commission re 53 MOTION to Dismiss . (Murphy, Sean)
12/09/2020   78     UNPUBLISHED Decision Pursuant to Civil L.R. 7(J) filed by Marge
                    Bostelmann, Julie M Glancey, Ann S Jacobs, Dean Knudson, Robert F
                    Spindell, Jr, Mark L Thomsen, Wisconsin Elections Commission
                    (Attachments: # 1 Exhibit 1− King, # 2 Exhibit 2− Bognet, # 3 Exhibit 3−
                    Boockvar, # 4 Exhibit 4− Hotze, # 5 Exhibit 5− Massey, # 6 Exhibit 6− Aguila
                    Management, # 7 Exhibit 7− Solow Building Co.)(Murphy, Sean)
12/09/2020   79     BRIEF in Opposition filed by Dorothy Harrell, Wendell J. Harris, Sr.,
                    Earnestine Moss, Wisconsin State Conference NAACP re 6 MOTION to
                    Amend/Correct Docket # 2: PLAINTIFFS MOTION FOR DECLARATORY,
                    EMERGENCY, AND PERMANENT INJUNCTIVE RELIEF , 10 Emergency
                    MOTION to Amend/Correct Docket # 6: PLAINTIFFS CORRECTED
                    MOTION FOR DECLARATORY, EMERGENCY, AND PERMANENT
                    INJUNCTIVE RELIEF . (Goode, Joseph)
12/09/2020   80     NOTICE of Appearance by Christopher Bouchoux on behalf of Democratic
                    National Committee. Attorney(s) appearing: Christopher Bouchoux
                    (Bouchoux, Christopher)
12/09/2020   81     NOTICE by Tony Evers Notice of Supplemental Authority (Brook, Davida)
12/09/2020   82     ORDER signed by Chief Judge Pamela Pepper on 12/9/2020 DENYING 75
                    plaintiff's Motion to Seal Document Public Motion Prior to Filing
                    Sealed/Restricted Exhibits. (cc: all counsel)(cb)
12/09/2020   83     ORDER DISMISSING CASE signed by Chief Judge Pamela Pepper on
                    12/9/2020. 51 Defendant Evers's motion to dismiss plaintiff's amended
                    complaint GRANTED. 53 Defendants Wisconsin Elections Commission and
                    its Members motion to dismiss GRANTED. 6 Plaintiff's corrected motion for
                    declaratory, emergency and permanent injunctive relief DENIED as moot. 10
                    Plaintiff's amended motion for temporary restraining order and preliminary
                    injunction to be considered in an expedited manner DENIED as moot. 9
                    Plaintiff's amended complaint for declaratory, emergency and permanent
                    injunctive relief DISMISSED. (cc: all counsel)(cb)
12/10/2020   84     NOTICE OF APPEAL as to 83 Order Dismissing Case,,, Terminate Motions,,
                    by William Feehan. Filing Fee PAID $505, receipt number
                    AWIEDC−3664794 (cc: all counsel) (Dean, Michael)
12/10/2020   85     JUDGMENT signed by Deputy Clerk and approved by Chief Judge Pamela
                    Pepper on 12/9/2020. (cc: all counsel)(cb)
12/10/2020   86     Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re
                    84 Notice of Appeal (lmf)
12/10/2020   87     Attorney Cover Letter re: 84 Notice of Appeal (Attachments: # 1 Docket
                    Sheet)(lmf)
12/10/2020   88     USCA Case Number 20−3396 re: 84 Notice of Appeal filed by William
                    Feehan. (lmf)
12/15/2020   89
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                    NOTICE of Appearance by Joseph J Yu on behalf of Democratic National
                    Committee. Attorney(s) appearing: Joseph J. Yu (Yu, Joseph)
12/15/2020    90    AMENDED NOTICE OF APPEAL as to 85 Judgment, 83 Order Dismissing
                    Case,,, Terminate Motions,, by William Feehan. (cc: all counsel) (Dean,
                    Michael) Modified on 12/16/2020 (lmf).
12/15/2020    93    USCA Case Number 20−3448 re: 90 Amended Notice of Appeal filed by
                    William Feehan. (Attachments: # 1 Circuit Rule 3(b) Notice)(lmf) (Entered:
                    12/17/2020)
12/16/2020    91    Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re
                    90 Notice of Appeal (lmf)
12/16/2020    92    Attorney Cover Letter re: 90 Amended Notice of Appeal (Attachments: # 1
                    Docket Sheet)(lmf)
12/22/2020    94    USCA Mandate (certified copy) as to 84 Notice of Appeal filed by William
                    Feehan USCA Number 20−3396. IT IS ORDERED that appeal no. 20−3396 is
                    voluntarily DISMISSED pursuant to Federal Rule of Appellate Procedure
                    42(b). Dismissal is without prejudice to appellant pursuing his claims in appeal
                    no. 20−3448. (lmf)
02/16/2021    95    TEXT ONLY ORDER signed by Chief Judge Pamela Pepper on 02/15/2021:
                    In compliance with the February 1, 2021 order of the Seventh Circuit Court of
                    Appeals in Feehan v. Wisconsin Elections Commission, et al., Appeal No.
                    20−3448, the court ORDERS that its decision of December 9, 2020 (Dkt. No.
                    83) and the accompanying judgment (Dkt. No. 85) are VACATED. The court
                    further ORDERS that this case is DISMISSED AS MOOT. NOTE: There is
                    no document associated with this text−only order. (cc: all counsel)(Pepper,
                    Pamela)
02/23/2021    96    USCA Mandate (certified copy) as to 90 Notice of Appeal filed by William
                    Feehan USCA Number 20−3448. IT IS ORDERED that the motion to dismiss
                    is GRANTED to the extent that we VACATE the district courts decision and
                    REMAND with instructions to dismiss the case as moot. This is the routine
                    disposition of civil cases that become moot while on appeal, see United State v.
                    Munsingwear, 340 U.S. 36 (1950), and this courts instructionsreflect no
                    criticism of the district courts timely decision on the merits. (lmf)
03/31/2021    97    MOTION for Attorney Fees by Tony Evers. (Mandell, Jeffrey)
03/31/2021    98    BRIEF in Support filed by Tony Evers re 97 MOTION for Attorney Fees .
                    (Attachments: # 1 Case: Pearson v. Kemp, # 2 Case: In Re Veg Liquidation, #
                    3 Case: Zilisch v. R.J. Reynolds, # 4 Case: Swaffer v. Deininger, # 5 Case:
                    Custom Shuttrs v. Saia Motor)(Mandell, Jeffrey)
03/31/2021    99    DECLARATION of Jeffrey A. Mandell (Attachments: # 1 Ex. A − Attorney
                    Fees, # 2 Ex. B − Engagement Letter)(Mandell, Jeffrey)
03/31/2021   100    DECLARATION of Matthew O'Neill (Mandell, Jeffrey)
03/31/2021   101    DECLARATION of Stacie Rosenzweig (Mandell, Jeffrey)
03/31/2021   102    DECLARATION of Mark Leitner (Mandell, Jeffrey)
03/31/2021   103    DECLARATION of Tamara Packard (Mandell, Jeffrey)
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03/31/2021   104    DECLARATION of Jeff Scott Olson (Attachments: # 1 Ex. A − Curriculum
                    Vitae)(Mandell, Jeffrey)
04/08/2021   105    MOTION to Strike Sanctions Motion by William Feehan. (Kleinhendler,
                    Howard)
04/08/2021   106    BRIEF in Support filed by William Feehan re 105 MOTION to Strike
                    Sanctions Motion . (Kleinhendler, Howard)
04/14/2021   107    BRIEF in Opposition filed by Tony Evers re 105 MOTION to Strike Sanctions
                    Motion . (Attachments: # 1 Swires v. Incredible Scents, Inc., # 2 Martorana v.
                    Vill. of Elmwood Park, # 3 Vogt v. Raymond James Fin., # 4 Formax, Inc. v.
                    Alkar−Rapidpak−MP, # 5 Wells Fargo Bus. Credit v. Donald Hindman, # 6 Ill.
                    Tool Works Inc. v. ESAB Grp, # 7 United States v. Pansier, # 8 Armstrong v.
                    Snyder)(Mandell, Jeffrey)
04/19/2021   108    REPLY BRIEF in Support filed by William Feehan re 105 MOTION to Strike
                    Sanctions Motion . (Kleinhendler, Howard)
04/21/2021   109    BRIEF in Opposition filed by William Feehan re 97 MOTION for Attorney
                    Fees . (Kleinhendler, Howard)
05/05/2021   110    REPLY BRIEF in Support filed by Tony Evers re 97 MOTION for Attorney
                    Fees and Sanctions. (Attachments: # 1 Exhibit 1 − Nordek v. Garbe Iron
                    Works, # 2 Exhibit 2 − Saenz v. Kohl's, # 3 Exhibit 3 − News
                    Articles)(Mandell, Jeffrey)
08/30/2021   111    NOTICE by Tony Evers of Supplemental Authority (Attachments: # 1 Matter
                    of Giuliani, # 2 Wis. Voters Alliance v. Pence, # 3 O'Rourke v. Dominion
                    Voting Systems Inc., # 4 King v. Whitmer)(Mandell, Jeffrey)
10/06/2021   112    MOTION for Leave to File Supplemental Brief by Tony Evers. (Attachments:
                    # 1 Proposed Supplemental Brief, # 2 Exhibit A to Proposed Supplemental
                    Brief)(Mandell, Jeffrey)
08/24/2022   113    ORDER signed by Chief Judge Pamela Pepper on 8/24/2022 DENYING 97
                    Defendant Evers's Motion for Attorney Fees; DENYING 105 Plaintiff's
                    Motion to Strike Defendant's Motion for Sanctions; and, DENYING 112
                    Defendant Evers's Motion for Leave to File Supplemental Brief. (cc: all
                    counsel)(kgw)
09/23/2022   114    NOTICE OF APPEAL by Tony Evers. Filing Fee PAID $505, receipt number
                    AWIEDC−4218226 (cc: all counsel) (Attachments: # 1 Docketing
                    Statement)(Mandell, Jeffrey)




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


WILLIAM FEEHAN,

               Plaintiff,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
 L. THOMSEN, MARGE BOSTELMANN,                                    Case No.: 20CV1771-pp
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.


                                    NOTICE OF APPEAL


       Notice is given that the defendant, Governor Tony Evers, in his official capacity as

Wisconsin’s Governor, appeals to the United States Court of Appeals for the Seventh Circuit from

the final judgment entered in this action on August 24, 2022.

       Dated this 23rd day of September, 2022.

                                             /s/ Jeffrey A. Mandell
                                             Jeffrey A. Mandell
                                             Rachel E. Snyder
                                             Richard A. Manthe
                                             STAFFORD ROSENBAUM LLP
                                             222 W. Washington Ave., Suite 900
                                             Madison, WI 53701-1784
                                             Telephone: 608-256-0226
                                             Email: jmandell@staffordlaw.com
                                             Email: rsnyder@staffordlaw.com
                                             Email: rmanthe@staffordlaw.com

                                             Attorneys for Defendant, Governor Tony Evers




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


WILLIAM FEEHAN,

              Plaintiff,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
 L. THOMSEN, MARGE BOSTELMANN,                                    Case No.: 20CV1771-pp
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

               Defendants.


                                DOCKETING STATEMENT



  I.   JURISDICTION OF THE DISTRICT COURT

       The district court had jurisdiction as a civil action arising under the laws of the United

States pursuant to 28 U.S.C. § 1331.


 II.   JURISDICTION OF THE COURT OF APPEALS

       This appeal is taken from the final decision of the U.S. District Court for the Eastern

District of Wisconsin entered on August 24, 2022 by the Honorable Pamela Pepper.

       The United States Court of Appeals has jurisdiction to decide this case pursuant to

28 U.S.C. § 1291.

       The Notice of Appeal was filed with the District Court on September 23, 2022.




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Dated this 23rd day of September, 2022.

                                    /s/ Jeffrey A. Mandell
                                    Jeffrey A. Mandell
                                    Rachel E. Snyder
                                    Richard A. Manthe
                                    STAFFORD ROSENBAUM LLP
                                    222 W. Washington Ave., Suite 900
                                    Madison, WI 53701-1784
                                    Telephone: 608-256-0226
                                    Email: jmandell@staffordlaw.com
                                    Email: rsnyder@staffordlaw.com
                                    Email: rmanthe@staffordlaw.com

                                    Attorneys for Defendant, Governor Tony Evers




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

                   Plaintiff,
                                                   Case No. 20-cv-1771-pp
      v.

WISCONSIN ELECTIONS COMMISSION,
COMMISSIONER ANN S. JACOBS,
MARK L. THOMSEN, JULIE M. GLANCEY,
COMMISSIONER MARGE BOSTELMANN,
COMMISSIONER DEAN KNUDSON,
ROBERT F. SPINDELL, JR., and TONY EVERS,

                   Defendants.


 ORDER DENYING DEFENDANT EVERS’S MOTION FOR ATTORNEY FEES
(DKT. NO. 97), DENYING PLAINTIFF’S MOTION TO STRIKE DEFENDANT’S
  MOTION FOR SANCTIONS (DKT. NO. 105) AND DENYING DEFENDANT
     EVERS’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEF
                           (DKT. NO. 112)


      On December 1, 2020, the plaintiff filed this lawsuit alleging “massive

election fraud, multiple violations of the Wisconsin Election Code, see e.g., Wis.

Stat. §§5.03, et seq., in addition to the Election and Electors Clauses and

Equal Protection Clause of the U.S. Constitution” based on “dozens of

eyewitnesses and the statistical anomalies and mathematical impossibilities

detailed in the affidavits of expert witnesses.” Dkt. No. 1 at ¶1. Eight days later,

the court granted the defendants’ motions to dismiss, denied the plaintiff’s

motion for injunctive relief as moot and dismissed the case. Dkt. No. 83. The

plaintiff appealed, dkt. no. 84, then filed an amended notice of appeal, dkt. no.


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90. The plaintiff voluntarily dismissed the appeal. Dkt. No. 94. Three months

later, defendant Governor Tony Evers filed a motion to recover attorney fees,

dkt. no. 97, and the plaintiff filed a “Motion to Strike Defendant’s Motion for

Sanctions,” dkt. no. 105. Several months later, defendant Evers filed a motion

for leave to file a supplemental brief. Dkt. No. 112.

      Because the court lacks jurisdiction over defendant Evers’s motion to

recover attorney fees, it will deny the motion. The court will deny for lack of

jurisdiction and as moot the plaintiff’s motion to strike the defendant’s motion

to recover fees and the defendant’s motion for leave to file a supplemental brief.

I.    Background

      The fifty-two-page complaint, filed on December 1, 2020, asserted four

causes of action: (1) violation of the Elections and Electors Clauses and 42

U.S.C. §1983; (2) violation of the Equal Protection Clause of the Fourteenth

Amendment, 42 U.S.C. §1983 and the “invalid enactment of regulations &

disparate treatment of absentee vs. mail-in ballots”; (3) denial of the Fourteenth

Amendment due process right to vote and 42 U.S.C. §1983; and (4) “wide-

spread ballot fraud.” Dkt. No. 1 at ¶¶106-138. As relief, the plaintiffs requested

      1. An order directing Governor Evers and the Wisconsin Elections
      Commission to de-certify the election results;

      2. An order enjoining Governor Evers from transmitting the
      currently certified election results [sic] the Electoral College;

      3. An order requiring Governor Evers to transmit certified election
      results that state that President Donald Trump is the winner of the
      election;

      4. An immediate emergency order to seize and impound all servers,
      software, voting machines, tabulators, printers, portable media,
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      logs, ballot applications, ballot return envelopes, ballot images,
      paper ballots, and all “election materials” referenced in Wisconsin
      Statutes § 9.01(1)(b)11 related to the November 3, 2020 Wisconsin
      election for forensic audit and inspection by the Plaintiffs;

      5. An order that no votes received or tabulated by machines that
      were not certified as required by federal and state law be counted;

      6. A declaratory judgment declaring that Wisconsin’s failed system
      of signature verification violates the Electors and Elections Clause
      by working a de facto abolition of the signature verification
      requirement;

      7. A declaratory judgment declaring that currently certified election
      results violate the Due Process Clause, U.S. Const. Amend. XIV;

      8. A declaratory judgment declaring that mail-in and absentee ballot
      fraud must be remedied with a Full Manual Recount or statistically
      valid sampling that properly verifies the signatures on absentee
      ballot envelopes and that invalidates the certified results if the
      recount or sampling analysis shows a sufficient number of ineligible
      absentee ballots were counted;

      9. A declaratory judgment declaring absentee ballot fraud occurred
      in violation of Constitutional rights, Election laws and under state
      law;

      10. A permanent injunction prohibiting the Governor and Secretary
      of State from transmitting the currently certified results to the
      Electoral College based on the overwhelming evidence of election
      tampering;

      11. Immediate production of 48 hours of security camera recording
      of all rooms used in the voting process at the TCF Center1 for
      November 3, 2020 and November 4, 2020;

      12. Plaintiffs further request the Court grant such relief as is just
      and proper including but not limited to, the costs of this action and
      their reasonable attorney fees and expenses pursuant to 42 U.S.C.
      §1988.

Id. at ¶143. There were twenty-eight attachments to the complaint, totaling 331

pages. Dkt. Nos. 1-1 through 1-28.



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      On the same date that he filed the complaint, the plaintiff1 filed a motion

for a temporary restraining order, dkt. no. 2, and a supporting brief, dkt. no. 3.

Almost seven hours later, the plaintiff filed a motion to amend or correct the

motion for injunctive relief. Dkt. No. 6.

      Two days later, the plaintiff filed an amended complaint, dkt. no. 9,

accompanied by nineteen attachments, dkt. nos. 9-1 through 9-19. The

amended complaint was fifty-one pages and the attachments totaled 303

pages. The plaintiff also filed another amended motion for injunctive relief,

which asked the court to consider it in an “expedited manner.” Dkt. No. 10.

The plaintiff attached a proposed briefing schedule, indicating that the briefing

would be conducted over the next two days (Friday, December 4 and Saturday,

December 5). Dkt. No. 10-1.

      Between December 3 and December 4, other parties—a proposed

intervenor, defendant Evers—filed motions, but the next motion the plaintiff

filed was his December 4, 2020 motion for leave to file excess pages. Dkt. No.

34. Two days later—on December 6, 2020—the plaintiff filed a brief in support

of the second amended motion for injunctive relief. Dkt. No. 42. That same day,

he filed a motion to file separate reply briefs, dkt. no. 43, and a motion to hold

a consolidated evidentiary hearing, dkt. no. 44.

      On December 7, 2020, the defendants moved to dismiss the amended

complaint. Dkt. Nos. 51, 53. Over the next two days, the parties (and others


1There were two named plaintiffs in the original complaint—the plaintiff and
“Derrick Van Orden.” Dkt. No. 1 at 1. The December 3, 2020 amended
complaint removed Van Orden as a defendant. Dkt. No. 9.
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seeking to file amicus briefs or to intervene) filed numerous pleadings, but only

one was a new motion filed by the plaintiff—a December 9, 2020 motion to

restrict some exhibits. Dkt. No. 76.

      On December 9, 2020—eight days after the plaintiff had filed the

complaint—the court granted the defendants’ motions to dismiss. Dkt. No. 83.

It concluded that (1) the plaintiff’s status as a registered voter did not give him

standing to sue, id. at 23; (2) the plaintiff’s status as a nominee to be a

Republican elector did not give him standing to sue, id. at 28, (3) most of the

relief the plaintiff had requested was beyond the court’s ability to grant, id. at

33; (4) the Eleventh Amendment barred the plaintiff’s claims against the

defendants in their official capacities and almost all the requested relief, id. at

37-38; and (5) the plaintiff’s request for relief constituted “an extraordinary

intrusion on state sovereignty from which a federal court should abstain under

longstanding precedent,” id. at 40.

      The following day—before the clerk had docketed the judgment—the

plaintiff filed a notice of appeal. Dkt. No. 84. A week later, after the clerk had

docketed the judgment, the plaintiff filed an amended notice of appeal. Dkt. No.

90.

      On February 1, 2021, the Seventh Circuit issued an order granting the

joint motion of the parties to dismiss the appeal as moot. Dkt. No. 96. The

court’s order stated:

             Appellees have moved to dismiss this appeal as moot and
      appellant has filed a concurrence. We agree with the litigants that
      there is no ongoing case or controversy. Accordingly,


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            IT IS ORDERED that the motion to dismiss is GRANTED to
      the extent that we VACATE the district court’s decision and
      REMAND with instructions to dismiss the case is moot. This is the
      routine disposition of civil cases that become moot while on appeal,
      see United State[s] v. Munsingwear, 340 U.S. 36 (1950), and this
      court’s instructions reflect no criticism of the district court’s timely
      decision on the merits.

Dkt. No. 96 at 1-2.

       On February 16, 20212 this court vacated its prior judgment and

dismissed the case as moot. Dkt. No. 95. Six weeks later, defendant Evers filed

the instant “Motion to Recover Attorney Fees.” Dkt. No. 97.

II.   Defendant’s Motion to Recover Attorney Fees (Dkt. No. 97)

      A.    The Parties’ Arguments

      Defendant Evers asks the court to tax both the plaintiff and the plaintiff’s

attorneys for Evers’s attorneys’ fees of “approximately $106,000 to date” “using

both statutory authority and the Court’s inherent power to sanction attorneys

for engaging in bad faith litigation.” Dkt. No. 97 at 2 (citing 28 U.S.C. §1927;

Roadway Exp., Inc. v. Piper, 447 U.S. 752, 766 (1980)).

      The defendant filed a twenty-nine-page brief in support of this motion.

Dkt. No. 98. He began by asserting that the plaintiff’s lawsuit was frivolous

from inception, based on “fringe conspiracy theories, sourced to anonymous

declarations submitted by ostensible experts who were later identified and


2 The Seventh Circuit issued the decision on February 1, 2021. The mandate
did not issue until February 23, 2021, see Fed. R. App. P. 41(b) (“The court’s
mandate must issue 7 days after the time to file a petition for rehearing
expires, or 7 days after entry of an order denying a timely petition for panel
rehearing, rehearing en banc, or motion for stay of mandate, whichever is
later.”), but because the parties had agreed to dismiss the appeal, this court
did not wait until the mandate issued to dismiss the case.
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revealed to be extreme partisans with neither experience nor qualifications to

provide any type of opinion on the subject matter.” Id. at 2. He argued that

there was “no reason for Wisconsin taxpayers to bear the expense of this

attempt to hijack the democratic process.” Id. He says that “[w]orking on the

extremely condensed timeline demanded by Plaintiff, despite a completely

baseless claim, required a team of attorneys to work nearly around the clock

performing all the necessary research and drafting the necessary filings to

litigate both a motion to dismiss and Plaintiff’s motion for preliminary

injunctive relief all in one week.” Id.

      After recounting the history of the litigation, the defendant listed “legal

mechanisms” that he indicated give the court the authority to impose sanctions

“for bad-faith conduct in the course of legal proceedings.” Id. at 6. First, he

cited 28 U.S.C. §1927, arguing that this statute was designed to limit abuses of

the judicial process, deter frivolous litigation and penalize attorneys who

engage in dilatory conduct. Id. (citations omitted). Second, the defendant

argued that the court could rely on its inherent authority to impose sanctions.

Id. at 8. The defendant explained that because the case was pending for only

eight days—because “Plaintiff field his complaint on December 1 and

demanded resolution by December 6”—the defendant could not seek sanctions

under Fed. R. Civ. P. 11, due to the rule’s twenty-one-day safe harbor

requirement; he argued that the plaintiff’s “demand for an expeditious process

cannot insulate Plaintiff and his attorneys from appropriate consequences for

their egregious conduct.” Id. at 6 n.2.

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      The defendant then detailed allegedly vexatious and bad-faith conduct by

the plaintiff and his lawyers. Id. at 9-18. He alleged that the plaintiff had

unreasonably delayed in filing the lawsuit, id. at 9; that there was no evidence

of the election fraud the plaintiff had alleged, id. at 10; that the plaintiff’s filings

were rife with procedural errors, id. at 13; that the plaintiff’s briefs

misrepresented the applicable law, id. at 14; that the plaintiff based his claims

on unreliable and inadmissible evidence, id. at 15; and that the relief the

plaintiff had requested was, for the most part, unprecedented and impossible

to grant, id. at 18. The defendant asked the court to impose sanctions, not only

to punish the plaintiff, but to discourage similar behavior in the wake of future

elections. Id. at 22.

      The defendant also argued that his fee request was “timely,” asserting

that the Seventh Circuit’s decision in Overnite Transportation Co. v. Chi.

Industrial Tire Co., 697 F.2d 789 (7th Cir. 1983) is an “outlier,” “in tension (at

minimum) with Supreme Court precedent and no other Circuit has adopted the

Seventh Circuit’s reasoning.” Id. at 24. He argued that in White v. New

Hampshire Dep’t of Emp. Sec., 455 U.S. 445, 452 (1982), the Supreme Court

had “rejected” the logic of Overnite, “holding that fee motions under 42 U.S.C.

§ 1988 need not comply with time limits established by Rule 59(e) . . . .” Id. at

25. The defendant asserted that the Fourth, Third, Second, Sixth and Tenth

Circuits had rejected the Overnite court’s reasoning. Id. He argued that

because Overnite “is out of step with Supreme Court precedent and that, even

on its own terms, it should not apply in the circumstances of this case, there is

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no doubt” that the court should consider his motion timely, because he filed it

within thirty days of the U.S. Supreme Court denying the plaintiff’s appeal and

within four months of this court issuing its order. Id. at 26. He concluded, “To

consider it otherwise would be to overlook an egregious abuse of the judicial

process.” Id. Finally, the defendant argued that the fees he requested were

reasonable. Id. And he asserted that the plaintiff and his lawyers should be

held jointly and severally liable for the sanctions. Id. at 29.

      The plaintiff responded that the court should deny the motion because “a

request for sanctions based upon a well-plead, factually supported civil lawsuit

is patently without merit.” Dkt. No. 109 at 3. The plaintiff argued that the

request was untimely under 28 U.S.C. §1927 and should be stricken. Id. He

noted that the court had dismissed the case on procedural grounds, and on a

motion to dismiss, rather than at the summary judgment stage after discovery.

Id. The plaintiff asked that if the court did not grant his motion to strike the

motion for sanctions, it schedule an evidentiary hearing and require the

plaintiff to present evidence. Id. at 4.

      In support of his argument that the sanctions motion was “out of time,”

the plaintiff cited Overnite, the Seventh Circuit decision that the defendant had

characterized as an “outlier.” Id. at 5. The plaintiff argued—citing several cases

and making liberal use of the “bold” function in Word—that the defedant had

not met the standard for sanctions under §1927. Id. at 5-6. The plaintiff opined

that although the defendant had characterized the plaintiff’s filing as dilatory,

most of the defendant’s §1927 argument asserted that the litigation had moved

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too quickly. Id. at 6. He opined that the plaintiff had not been forced to file

numerous pleadings, pointing out that the case had survived only nine days.

Id. at 8. The plaintiff maintained that if his claims had been as frivolous as the

defendant characterized them to be, the defendant would not have been

required to expend significant time with a team of attorneys to address them.

Id.

      The plaintiff argued that the defendant’s assertion that his claims lacked

a legal and factual basis ignored the fact the court never reached the merits of

those claims. Id. at 9. Nonetheless, the plaintiff insisted that his claims had

merit and that other courts had found as much. Id. at 9-13. He argued that

while this court had concluded that he did not have standing, the Eighth

Circuit had come to a different conclusion. Id. at 13. The plaintiff explained

why he believed he had a good-faith basis for arguing that the Eleventh

Amendment did not bar his claims. Id. at 16. He asserted that in finding that

laches barred his claims, this court had failed to “take an in depth look at” a

Ninth Circuit case relied upon by the defendant. Id. at 17-18. He referenced

evidence that he had cited in the amended complaint and its attachments. Id.

at 18-23 (although he reiterated that this court dismissed the case on

procedural grounds, not on the merits). Finally, he argued that dismissal on

“equitable grounds” such as laches or mootness “are not grounds for a court to

hold the relief requested is factually or legally baseless because of the

purposefully flexible nature of equity.” Id. at 23.




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      The defendant replied that the plaintiff “fundamentally misapprehend[ed]

the issue” he presented in his motion for fees. Dkt. No. 110 at 1. He asserted

that the question at the heart of his motion “is whether [the plaintiff’s] lawsuit

was filed in a proper way for a proper purpose;” asserting that it was not, the

defendant said that both fees and sanctions are appropriate. Id. The defendant

found it “worth briefly reviewing just how egregious Plaintiff and his attorneys’

conduct was,” listing seven bullet points in the review. Id. at 2. The defendant

characterized as “bizarre” the plaintiff’s argument that because the litigation

moved so quickly it could not be characterized as “vexatious,” asserting that

under 28 U.S.C. §1927, a “vexatious” action is one that exhibits bad faith. Id.

at 3. The defendant asserted that this case was not a matter of first impression,

as evidenced by the fact that “many of Plaintiff’s lawyers here were peddling the

same conspiratorial claims around the country and uniformly failing on the

same grounds this case was dismissed.” Id. at 5. He alleged that both the

original and the amended complaints were riddled with errors. Id. at 6. He

criticized the experts the plaintiff cited in the amended complaint. Id. at 7.

      The defendant pointed out that the plaintiff cited no authority in support

of his argument that a dismissal on equitable grounds cannot provide a basis

for sanctions. Id. at 8. He disputed the plaintiff’s argument that the First

Amendment forbids sanctions in these circumstances. Id. at 9. He

distinguished—or, more accurately, deemed irrelevant—out-of-circuit cases

cited by the plaintiff. Id. at 9-10.




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      The defendant argued that several of the attorneys who signed the

amended complaint did not sign the plaintiff’s response to the motion for

sanctions, despite his explicit request that the court impose sanctions on the

plaintiff and all his counsel. Id. at 11. He asserted that by failing to respond or

“associate themselves with any filed response within the relevant time allotted,

Julia Z. Haller, Brandon Johnson, Emily P. Newman, and L. Lin Wood have

conceded that the Court can impose fees against them and that Governor

Evers’s fee request is reasonable.” Id. Finally, he reiterated that his motion was

timely because Overnite is an “outlier,” distinguishable, is “of questionable

validity” and is “in significant tension” with the Federal Rules of Civil

Procedure. Id. at 12.

      B.     Governing Law

             1.    28 U.S.C. §1927

      Under 28 U.S.C. §1927,

      [a]ny attorney or other person admitted to conduct cases in any
      court of the United States or any Territory thereof who so multiplies
      the proceedings in any case unreasonably and vexatiously may be
      required by the court to satisfy personally the excess costs,
      expenses, and attorneys’ fees reasonably incurred because of such
      conduct.

      In its earlier iteration, the statute “permit[ted] a court to tax the excess

‘costs’ of a proceeding against a lawyer ‘who so multiplies the proceedings . . .

as to increase costs unreasonably and vexatiously . . . .’” Roadway Exp., Inc. v.

Piper, 447 U.S. 752, 756 (1980). It provided “only for excess costs caused by

the . . . attorneys’ vexatious behavior and consequent multiplication of the

proceedings, and not for the total costs of the litigation.” Id. at 756 n.3 (quoting
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Monk v. Roadway Express, Inc., 599 F.2d 1378, 1383 (5th Cir. 1979)

(emphasis in the original)). The Piper Court focused on the vexatious

multiplication of proceedings. Id. at 757, 757 n.4 (“Due to sloth, inattention, or

desire to seize tactical advantage, lawyers have long indulged in dilatory

practices. Cf. C. Dickens, Bleak House 2-5 (1948).”). Ten years later, in a brief

comment in a separate opinion in Cooter & Gell v. Hartmarx Corp., 496 U.S.

384, 412 (1990), Justice Stevens also focused on the multiplication of

proceedings, agreeing that a court may “impose sanctions under 28 U.S.C.

§ 1927 against lawyers who have multiplied court proceedings vexatiously.”

      The statute allows a court to impose sanctions only against attorneys; it

“says nothing about a court’s power to assess fees against a party.” Chambers

v. NASCO, Inc., 501 U.S. 32, 48 (1991). Under the current version of the

statute, a court “may require an attorney who unreasonably multiplies

proceedings to pay attorney’s fees incurred ‘because of’ that misconduct,”

which requires the court to “establish a causal link between misconduct and

fees . . . .” Goodyear Tire & Rubber Co. v. Haeger, 581 U.S. 101, 137 S. Ct.

1178, 1186 n.5 (2017) (citing Piper, 447 U.S. at 764).

      As best the court can tell, the Seventh Circuit first approved a taxing of

costs against an attorney under §1927 in Kiefel v. Las Vegas Hcienda, Inc., 404

F.2d 1163 (7th Cir. 1968). The court concluded that the attorney’s conduct had

caused “additional proceedings” and remanded the case to the district court to

award expenses for printing a brief and additional appendix, as well as

attorneys’ fees. Id. at 1171.

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      In 1983, the Seventh Circuit examined §1927 more closely. In Overnite,

697 F.2d at 791, the plaintiff sued in federal district court under the Interstate

Commerce Act. The district court granted the defendant’s motion to dismiss for

lack of subject-matter jurisdiction and the plaintiff appealed. Id. Two weeks

after the Seventh Circuit had affirmed the district court’s decision and issued

the mandate, the defendant returned to the district court and filed a motion

under 28 U.S.C. §1927 to recover the costs and attorneys’ fees it incurred in

defending the lawsuit in federal court. Id. “The defendant argued that the

plaintiff’s filing of the lawsuit in federal court and the appeal of its dismissal

constituted an unreasonable and vexatious multiplication of the proceedings

entitling the defendant to the recovery of attorney’s fees and expenses.” Id. The

district court agreed, granted the motion and awarded $1,392.50 in attorney’s

fees and costs based on “‘[t]he vexatious character of plaintiff attorney’s

conduct in initiating this . . . lawsuit in federal court and [then] appealing its

dismissal . . . .” Id. at 791-92 (quoting Overnite Transportation Co. v. Chicago

Industrial Tire Co., 535 F. Supp. 114, 115 (N.D. Ill. 1982)).

      The plaintiff’s attorneys appealed that decision to the Seventh Circuit. Id.

at 792. The Seventh Circuit framed the issues on appeal this way:

      Issue 1: Did the district court have jurisdiction to entertain a motion
      to compel the payment of attorney’s fees and costs after the district
      court’s dismissal of the underlying action had been affirmed on
      appeal prior to the date of the motion for costs and attorney’s fees?
      Issue 2: Did the district court abuse its discretion in awarding
      attorney’s fees and costs?

Id.



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      Regarding the first issue—the issue of the district court’s jurisdiction—

the court began by observing the “well established general rule that the

perfection of an appeal ‘vests jurisdiction in the court of appeals [and] further

proceedings in the district court cannot then take place without leave of the

court of appeals.’” Id. (quoting Asher v. Harrington, 461 F.2d 890, 895 (7th Cir.

1972)). The court concluded that jurisdiction had vested in the appellate court

on the date the plaintiff properly filed his notice of appeal—July 9, 1981. Id.

      The court explained, however, that there were exceptions to the rule that

jurisdiction vests with the court of appeals upon the filing of a notice of appeal;

as examples, it recounted that “jurisdiction continues in the district court if

jurisdiction is reserved expressly by statute, or if the court expressly reserves

or retains such jurisdiction, or while the court is entertaining motions

collateral to the judgment or motions which would aid in resolution of the

appeal.” Id. (citations omitted). It clarified that “these exceptions only apply to

those motions filed with the district court while the appeal on the merits is

pending.” Id. The court stated that once it had issued its decision and docketed

the mandate affirming the district court’s dismissal of the case, “no case or

controversy any longer existed between the litigants herein.” Id. The court of

appeals concluded that the district court lacked jurisdiction to rule on the

motion for costs and attorney’s fees because (1) “the plaintiff properly filed a

notice of appeal,” (2) no party had filed a §1927 motion in the eight-month

period that had elapsed between the filing of the notice of appeal and issuance

of the mandate affirming the district court’s dismissal, (3) the district court had

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not reserved jurisdiction over the case, (4) no statute provided that the district

court reserved jurisdiction and (5) “no motions concerning the case in chief

were directed to either [the court of appeals] or the district court during the

eight months the appeal on the merits was pending.” Id.

      Observing the wasted delay and effort caused by “piecemeal appeals,” the

Seventh Circuit also concluded that “a motion for attorney’s fees and costs

under section 1927 is so inexorably bound to the underlying merits of the case

that a party must bring a motion for fees and costs either before an appeal is

perfected or during the pendency of the appeal on the merits.” Id. at 793.

      Nonetheless, the court went on to address the second issue—whether the

district court had abused its discretion in awarding fees and costs under

§1927. Id. at 794. It stated that §1927 “envisions a sanction against an

attorney only when that attorney both (1) multiplies the proceedings, and (2)

does so in a vexatious and unreasonable fashion.” Id. The court looked at the

legislative history—specifically, the House Conference Report—surrounding

§1927, observing that the report stated that the statute’s purpose

      is “to broaden the range of increased expenses which an attorney
      who engages in dilatory litigation practices may be required by the
      judge to satisfy personally.… The amendment to section 1927 is one
      of several measures taken in this legislation to deter unnecessary
      delays in litigation.” House Conference Report No. 96-1234, 96th
      Congress 2d Session, Reported in 1980 U.S. Code. Cong. & Admin.
      News 2716, 2781 at 2782 (emphasis supplied).

Id. (emphasis in the original).

      The Seventh Circuit observed that while some courts had used §1927 to

sanction lawyers for filing and prosecuting lawsuits that the court deemed to

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be meritless, “these cases are limited to situations where the suit was without

either a legal or factual basis and the attorney was or should have been aware

of this fact.” Id. The court found that the Overnite suit did not fall into that

category; Overnite’s claim “was one of first impression.” Id. The court

concluded that the lawsuit was “not ‘frivolous’ and therefore Overnite’s

attorneys did not ‘multiply’ the proceedings by filing an action in the federal

district court.” Id. The court also concluded that the appeal was not frivolous,

stating that “[l]itigants and their attorneys must be free to pursue their

appellate remedies except in truly unmeritorious and frivolous cases.” Id. at

795. Noting its holding in Kiefel that “the power to assess costs on the attorney

involved ‘is a power which the courts should exercise only in instances of a

serious and studied disregard for the orderly process of justice,’” the Seventh

Circuit explained that the district court had identified no vexatious conduct

other than the filing of the lawsuit and the subsequent appeal of its dismissal.

Id. (quoting Kiefel, 404 F.2d at 1167). The court found that the defendant had

“pointed to no instances where the attorneys for Overnite either at trial or on

appeal engaged in intentional misconduct which was in ‘disregard for the

orderly process of justice.’” Id. It stated, “[t]he term ‘vexatious’ is defined as

‘lacking justification and intended to harass.’” Id. (quoting Webster’s

International Dictionary (1971)). The court held that the district court had

abused its discretion in taxing fees and costs under §1927. Id.

      Since Overnite, the Seventh Circuit has held that vexatious means

“either subjective or objective bad faith.” Kotsilieris v. Chalmers, 966 F.2d

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1181, 1184 (7th Cir. 1992) (citations omitted). It has reiterated that “Section

1927 sanctions should only be awarded when an attorney ‘unreasonably and

vexatiously’ multiplies the proceedings.” Pacific Dunlop Holdings, Inc. v.

Barosh, 22 F.3d 113, 120 (7th Cir. 1994) (quoting 28 U.S.C. §1927). It has

explained that the statute is “punitive and thus must be construed strictly.”

Knorr Brake Corp. v. Harbil, Inc., 738 F.2d 223, 226 (7th Cir. 1984) (citing

Badillo v. Central Steel & Wire Co., 717 F.2d 1160, 1166 (7th Cir. 1983)). It has

emphasized that its purpose is “to penalize attorneys who engage in dilatory

conduct,” and a “court may impose section 1927 fees only to sanction needless

delay by counsel.” Id. “[S]ome degree of culpability on the part of counsel is

required.” Id. at 227 (citations omitted). “[B]efore a court may assess fees under

section 1927, the attorney must intentionally file or prosecute a claim that

lacks a plausible legal or factual basis,” but the court “need not find that the

attorney acted because of malice.” Id. (citations omitted).

            2.     Inherent Authority

      The Supreme Court has made clear that a statutory or rule-based

sanctions scheme does not “displace[] the inherent power to impose sanctions”

to discipline attorneys who appear before the court, to punish contempt, to

vacate judgments secured by fraud, for willful disobedience of a court order

and to punish a party who has acted in bad faith, vexatiously, wantonly or for

oppressive reasons. Chambers, 501 U.S. at 44-46 (citations omitted). “‘It has

long been understood that ‘[c]ertain implied powers must necessarily result to

our Courts of justice from the nature of their institution,’ powers ‘which cannot

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be dispensed with in a Court, because they are necessary to the exercise of all

others.’” Sanders v. Melvin, 25 F.4th 475, 481 (7th Cir. 2022) (quoting

Chambers, 501 U.S. at 43). “‘For this reason, “Courts of justice are universally

acknowledged to be vested, by their very creation, with power to impose

silence, respect, and decorum, in their presence, and submission to their

lawful mandates.”’” Id. (quoting Chambers, 501 U.S. at 43). However, “implied

powers, ‘[b]ecause of their very potency, … must be exercised with restraint

and discretion.’” Id. (quoting Chambers, 501 U.S. at 44). “Among these powers

is the ability of ‘a federal court to vacate its own judgment upon proof that a

fraud has been perpetrated upon the court.’” Id. (quoting Chambers, 501 U.S.

at 44). “And if fraud is discovered prior to judgment, a court ‘may impose

appropriate sanctions to penalize and discourage misconduct.’” Id. (quoting

Ramirez v. T & H Lemont, Inc., 845 F.3d 772, 776 (7th Cir. 2016)). A court’s

inherent authority to impose sanctions is “subordinate to valid statutory

directives and prohibitions.” Greyer v. Ill. Dept. of Corrs., 933 F.3d 871, 877

(7th Cir. 2019) (quoting Law v. Siegel, 571 U.S. 415, 421 (2014)).

      C.    Analysis

            1.     Jurisdiction

      The parties spilled some ink arguing whether the defendant’s motion for

an award of attorney’s fees was “timely.” But §1927 does not include a deadline

by which such motions must be filed. The issue, as the Seventh Circuit

explained in Overnite, is not “timelines,” but whether this court has

jurisdiction to decide a sanctions motion filed after the appellate court has

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affirmed this court’s order dismissing the case and issued its mandate.

Overnite made clear that it does not. The plaintiff filed the amended notice of

appeal on December 15, 2020. Dkt. No. 90. At that point, jurisdiction vested

with the Seventh Circuit. That court issued the mandate on February 23, 2021,

vacating this court’s order and dismissing the case as moot. Dkt. No. 96. This

court did not reserve jurisdiction, no statute provided it with post-appeal

jurisdiction and no party filed motions regarding the case during the two

months that the appeal was pending. The defendant filed his motion for fees on

March 31, 2021—over a month after the Seventh Circuit issued the mandate.

Dkt. No. 97.

      The defendant says that “both the extraordinary circumstances

surrounding this case and Overnite’s outlier status . . . militate against its

application here.” Dkt. No. 98 at 24. In attempting to distinguish Overnite, the

defendant stresses the expedited schedule of this case and argues that the fact

that the case was part of a “national, multi-pronged” effort to overturn the

results of the 2020 presidential election “made it extremely difficult for

Governor Evers or any other defendants to file a motion for fees prior to the

conclusion of the appeal.” Id. The defendant asserts that “[o]nly after the

Seventh Circuit dismissed Plaintiff’s appeal as moot and the Supreme Court

. . . denied Plaintiff’s petition for mandamus was it clear that this case was

resolved.” Id.

      The court agrees that in Overnite, the appeal was pending for eight

months, while in this case it was pending for only two. The court also

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understands that while the appeal in this case was pending, the defendant and

others were involved in other, similar lawsuits and were working—as the

defendant has indicated—around the clock to address pleadings filed in

multiple cases in multiple forums. But the Overnite court held once the

mandate issues, there no longer is a case or controversy over which the district

court may exercise Article III jurisdiction. The fact that counsel had little time

to file a sanctions motion before the mandate issued cannot vest the court with

jurisdiction.

       As to the defendant’s argument that Overnite effectively has been

abrogated by the Supreme Court’s decision in White v. New Hampshire Dep’t of

Emp. Sec., the court cannot agree. In White, the parties settled civil rights

litigation and the court entered judgment; one and a half months later, the

petitioner filed a request for an award of fees under 42 U.S.C. §1988. White,

455 U.S. at 447-448. Opposing counsel objected, asserting that he had

believed that because the consent decree that effectuated the settlement was

silent on the issue of fees, any claim to a fee award had been implicitly waived.

Id. at 448. The district court granted the request for an award of fees and the

opposing party moved to vacate the consent decree, arguing it would not have

entered into the settlement had it known it could face further liability. Id. The

district court denied the motion to vacate the consent decree and the opposing

party appealed. Id. On appeal, the First Circuit concluded that because the

movant filed the motion for attorney’s fees after the court had entered

judgment, the motion constituted a motion to alter or amend the judgment

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under Fed. R. Civ. P. 59(e) and thus was required to be filed under the rule’s

then-applicable ten-day3 deadline. Id.

      The White Court focused its discussion on the relationship between Rule

59(e) and post-judgment attorney’s fee requests, concluding that treating such

requests as Rule 59(e) motions to alter or amend “could yield harsh and

unintended consequences” in civil rights cases—particularly those involving

requests for injunctive relief—which could make it difficult for counsel to

determine which orders were final under Rule 59(e). Id. at 453. The Court

found that Rule 59(e)’s then-applicable ten-day limit “also could deprive

counsel of the time necessary to negotiate private settlements of fee questions.”

Id.

      White did not involve a sanctions motion filed after appeal. It involved a

post-judgment but pre-appeal motion for statutorily authorized attorney’s fees.

The jurisdictional problem identified by the Overnite court did not exist in

White; the district court still had jurisdiction when it granted the award of

attorney’s fees. And even if the Supreme Court’s expressed concerns about

treating 42 U.S.C. §1988 requests for fees as Rule 59(e) motions having

application outside the context of civil rights litigation that seeks injunctive

relief, the problem the Court identified—that a litigant might not be able to

determine when a final order had issued—was not present here. This court




3Currently, Rule 59(e) requires motions to alter or amend judgment to be filed
within twenty-eight days of entry of judgment.
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dismissed the case. There could have been no confusion about whether that

order was a final, dispositive order.

      Further, as noted by another judge on this court in rejecting this same

argument by the defendant in a different case, the Seventh Circuit has given no

indication that it does not consider Overnite to be good law. See Trump v. The

Wisconsin Elections Commission, et al., Case No. 20-cv-1785-BHL (E.D. Wis.),

Dkt. No. 178. The Seventh Circuit has cited and quoted Overnite in several

decisions over the past forty years, including in Badillo, Knorr Brake Corp.

and, most recently, Lightspeed Media Corp. v. Smith, 761 F.3d 699, 707 (7th

Cir. 2014) (the appellants were “correct that motions under section 1927 must

not be unreasonably delayed,” citing Overnite).

      Overnite precludes not only an award of sanctions under §1927, but an

award of sanctions under the court’s inherent authority. Because there was no

live case or controversy sufficient to give this court jurisdiction at the time the

defendant asked for sanctions under the court’s inherent authority, the court

does not have jurisdiction to grant that request.

      The defendant did not file his motion for sanctions until almost four

months after this court dismissed the case, two months after the Seventh

Circuit issued its decision and over a month after the mandate issued. This

court did not reserve jurisdiction. No statute gave the court post-appellate

jurisdiction. This court does not have jurisdiction to decide the motion and the

court must deny it.




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            2.     Merits

      In an abundance of caution, the court notes that if it did have

jurisdiction to rule on the motion, it would not have awarded fees under 28

U.S.C. §1927. The court would be hard-pressed to find that the plaintiff

unreasonably and vexatiously “multiplied” the litigation; other than the original

complaint, the plaintiff filed only eight affirmative pleadings—the original

motion for injunctive relief and supporting brief, the motion to amend the

motion for injunctive relief, the amended complaint, the second motion to

amend the motion for injunctive relief, the motion for leave to file excess pages,

the motion to file separate reply briefs, the motion for a consolidated

evidentiary hearing and a motion to restrict. Some of the motions were

extremely lengthy and accompanied by voluminous attachments. Others were

sloppy. But the court has no basis on which to conclude that the plaintiff was

“dilatory” or that he needlessly delayed proceedings; if anything (as the

defendant also has argued), the plaintiff was pushing an extremely expedited

schedule, which the court and the defendants struggled to accommodate.

      The heart of the defendant’s motion is his argument that the plaintiff

should not have filed suit to begin with and that the claims the plaintiff

brought were not just meritless, but frivolous. This argument harkens back to

the Overnite court’s reference to other courts that had imposed §1927

sanctions for cases that were patently without merit. But this court never

reached the merits of the plaintiff’s claims. As the plaintiff has argued, the

court dismissed the case on procedural grounds. The court is aware that other

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judges have dismissed as meritless claims similar to those made by the plaintiff

in this case. Perhaps, had this court reached the merits of the plaintiff’s claims,

it would have come to the same conclusion. But it cannot agree that if it had

jurisdiction to consider the defendant’s motion, it would have had a basis for

imposing §1927 sanctions on the ground that the plaintiff’s claims were wholly

meritless and frivolous, because the court did not have the opportunity to

make that determination.

      The defendant also argues repeatedly that the pleadings the plaintiff’s

counsel filed were “riddled” with procedural errors. The court noted some of

those in its order regarding the amended motion for injunctive relief (Dkt. No.

7), its order ruling on the amended motion for injunctive relief (Dkt. No. 29)

and its order denying the plaintiff’s motion to restrict (Dkt. No. 82). This is not,

however, the first or only case the court has had in which attorneys have made

procedural errors—even multiple procedural errors. And when the court issued

orders identifying the plaintiff’s errors, plaintiff’s counsel attempted to address

them. The procedural errors made more work for the defendants and the court,

but they did not delay the proceedings.

      As in Trump v. WEC, the allegation that comes closest to presenting a

valid basis for an award of fees is the argument that much of the relief the

plaintiff requested was not relief that a federal court either had the authority to

grant or had the practical ability to grant. See Trump v. Wisconsin Elections

Commission, No. 20-cv-1785-BHL, 2021 WL 5771011, at *4 (E.D. Wis. Dec. 6,

2021). The plaintiff did not get to argue the bases for those requests for relief

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because the defendants (including the movant) successfully argued that the

court should not reach those bases. Perhaps if the case had progressed further,

the plaintiff might have withdrawn some of the requests for relief or retreated

from certain arguments. While, as Judge Ludwig stated in the Trump decision,

“[r]eady, fire, aim is not the preferred approach when litigating constitutional

claims in federal court,” id., and while asking for the impossible in the hope

that one may achieve the improbable is no less desirable an approach, the fact

that the plaintiff’s counsel did so is not a sufficient basis for awarding fees

under §1927.

      The defendant’s argument that the court should use its inherent

authority to award sanctions is brief. Aside from arguing that the plaintiff

brought meritless claims, he argues that the plaintiff “fabricated a quote to

support their position.” Dkt. No. 98 at 20. This is a reference to the following

passage from this court’s order of dismissal:

             The plaintiff also asserts that the “cutoff for election-related
      challenges, at least in the Seventh Circuit, appears to be the date
      that the electors meet, rather than the date of certification.” Dkt. No.
      72 at 24. He cites Swaffer v. Deininger, No. 08-CV-208, 2008 WL
      5246167 (E.D. Wis. Dec. 17, 2008). Swaffer is not a Seventh Circuit
      case, and the court is not aware of a Seventh Circuit case that
      establishes a “cutoff for election-related challenges.” And the
      plaintiff seems to have made up the “quote” in his brief that purports
      to be from Swaffer. The plaintiff asserts that these words appear on
      page 4 of the Swaffer decision: “even though the election has
      passed, the meeting of electors obviously has not, so plaintiff’s claim
      here is hardly moot.” Dkt. No. 72 at 24-25. The court has read page
      4 of Swaffer—a decision by this court’s colleague, Judge J.P.
      Stadtmueller—three times and cannot find these words. In fact,
      Swaffer did not involve a challenge to a presidential election and it
      did not involve electors. Mr. Swaffer sought to challenge a Wisconsin
      statute requiring individuals or groups promoting or opposing a
      referendum to file a registration statement and take other actions.
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      Swaffer, 2008 WL 5246167, at *1. The defendants argued that the
      election (in which the plaintiff had taken steps to oppose a
      referendum on whether to allow liquor sales in the Town of
      Whitewater) was over and that Swaffer’s claims thus were moot. Id.
      at 2. Judge Stadtmueller disagreed, finding that because Swaffer
      alleged that he intended to violate the statutes at issue in the future,
      a credible threat of prosecution remained. Id. at 3.

Dkt. No. 83 at 32-33.

      This court did not hold that the plaintiff had fabricated a quote—it

stated, based on its review of the case the plaintiff had cited, that he appeared

to have done so. Even if the court had jurisdiction to decide the sanctions

motion, it would not have awarded sanctions—under its inherent authority or

any other authority—for this misrepresentation without giving the plaintiff’s

counsel an opportunity to explain whether the drafter of the pleading

mistakenly cited the wrong case or whether there was some other innocent

reason for the apparently “fabrication.”

      The defendant asserts that the court should use its inherent authority to

sanction the plaintiff and his lawyers because they “delayed the proceedings

with a series of procedural errors and misrepresented the law on threshold

issues of standing and pleading requirements.” Dkt. No. 98 at 21-22. The court

already has concluded that the procedural errors did not delay the

proceedings. As for the plaintiff’s legal arguments, the court disagreed with the

plaintiff’s interpretation of some cases he cited and found that others did not

stand for the propositions he put forth. Dkt. No. 83. The court would not use

its inherent authority to impose sanctions, however, without some further

hearing to determine whether the plaintiff’s counsel made deliberate

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misrepresentations of the law, as opposed to errors made in the context of

extensive litigation proceeding in federal and state courts around the country

at the same time.

      Finally, the defendant argues that the court should exercise its inherent

authority to sanction the plaintiff and his lawyers because “by acting in haste,

Plaintiff and his attorneys precluded Defendants’ opportunity to move for

sanctions under Rule 11.” Dkt. No. 98 at 22. He cites Methode Electronics, Inc.

v. Adam Technologies, Inc., 371 F.3d 923, 927-28 (7th Cir. 2004) for the

proposition that it is appropriate for a district court to exercise its inherent

power to control proceedings by imposing sanctions.4 Id. Even if the court had

jurisdiction to entertain this claim, it would not have used its inherent power to

impose sanctions on this basis. The defendant is correct that the court issued

its order dismissing the case on December 9, 2020 because that was the date

on which the plaintiff’s counsel asked the court to rule. See Dkt. No. 71 at 1

(minutes of the December 8, 2020 status conference). But it was the court’s

decision to issue the order by that date; the court was not required to

acquiesce to the plaintiff’s scheduling requests. And while it is true that the

defendant did not have time between the December 1, 2020 filing of the

complaint and the December 9, 2020 order dismissing the case to comply with

Rule 11’s twenty-one-day safe-harbor provision, he had more than twenty-one



4Methode contributes nothing to the analysis; it reiterated only what the
Supreme Court had held in Chambers—that a court may invoke its inherent
powers even if there is a statute or rule that would sanction the same conduct.
Methode, 371 F.3d at 927.
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days between the date of that order and the date the Seventh Circuit issued its

decision.

       If the court had jurisdiction, it would not impose sanctions under §1927.

It would consider sanctions under its inherent authority for possible

fabrication of a quote and possible misstatement of applicable law only after a

hearing at which the plaintiff’s counsel would have the opportunity to explain

whether those were innocent errors.

III.   Plaintiff’s Motion to Strike Defendant’s Motion for Sanctions
       (Dkt. No. 105);
       Defendant Governor Tony Evers’s Motion for Leave to File
       Supplemental Brief (Dkt. No. 112)

       Just as the court does not have jurisdiction to decide the motion for an

award of attorney’s fees, it also does not have jurisdiction to decide the

plaintiff’s motion to strike or the defendant’s motion for leave to file a

supplemental brief. Given the fact that the court is denying the motion for

sanctions, these motions also are moot.

IV.    Conclusion

       The court DENIES for lack of jurisdiction defendant Evers’s motion to

recover attorney fees. Dkt. No. 97.

       The court DENIES for lack of jurisdiction and as moot the plaintiff’s

motion to strike the defendant’s motion to recover attorney fees. Dkt. No. 105.




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      The court DENIES for lack of jurisdiction and as moot the defendant’s

motion for leave to file supplemental brief. Dkt. No. 112.

      Dated in Milwaukee, Wisconsin this 24th day of August, 2022.

                                     BY THE COURT:


                                     _____________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




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